31 F.3d 1172
    Hymon (Josephine Dover), Estate of Hymon (George), parent ofHymon (George, Jr., Alia, Mary, Terika), Hymon(Troy), Estate ofHymon (Ruth Tillison),Hymon (Barry, Darryl)v.Southland Corporation, t/a 7-11 Store, Franchisee ofSouthland Corporation, Citgo Petroleum Corporationv. Rice (Eric), Martins (Cindy)
    NO. 93-2138
    United States Court of Appeals,Third Circuit.
    July 15, 1994
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      AFFIRMED.
    
    